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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


   UNITED STATES OF AMERICA,                           Case No. 1:21-cr-00495-ABJ

           v.                                         DANIEL PAUL GRAY’S MOTION TO
                                                      DISMISS COUNT 9 OF THE FIRST SU-
   DANIEL GRAY,                                       PERSEDING INDICTMENT

  Defendant.



       DANIEL PAUL GRAY’S MOTION TO DISMISS COUNT 9 OF THE FIRST
                      SUPERSEDING INDICTMENT

       Defendant Daniel Paul Gray (“Gray”), through the undersigned counsel, John M. Pierce,

Esq., presents this motion to dismiss Count 9 of the First Superseding Indictment, first because

the charging documents fail to state an offense in that they do not allege any parading,

demonstrating, or picketing, second because these terms as applied are unconstitutionally vague

and subject to manipulation by officials unbridled by statutory standards in violation of Gray’s

fundamental First Amendment rights, and third because if the conduct alleged constituted

“parading” or “demonstrating” or “picketing” then Count 9 becomes merely a redundant

restatement of Counts 4, 5, and 7.

       In support of his motion Gray states as follows:


I. INTRODUCTION AND OVERVIEW

       This particular Motion, alongside others, addresses only Count 9 for reasons distinctly

different from the other Counts.

       Count 9 collides with the First Amendment to the U.S. Constitution like fault lines




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between two continental shelves of the Earth’s crust. This is not merely a matter of possible

imperfection in the pleading and charging by Count 9. It is that the claims of Count 9 severely

conflict with the U.S. Constitution rights of free speech and petition the government for the

redress of grievances. Therefore, what might be permissible in general must be analyzed

differently when just over the line looms competing and powerful Constitutional interests.

       Count 9 alleges without more:


                                             COUNT NINE

              On or about January 6, 2021, within the District of Columbia, DANIEL PAUL

       GRAY, willfully and knowingly paraded, demonstrated, and picketed in any United States

       Building.


       (Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
                          United States Code, Section 5104(e)(2)(G).



       Yet there are no factual allegations of Defendant Gray (1) parading (2) demonstrating or

(3) picketing in the U.S. Capitol building nor in any other Capitol Building.

       Indeed, while the Statement of Offense includes averments that there is probable cause to

believe that Defendant Gray committed other offenses, the Statement of Offense conspicuously

does not even conclude that there has been any violation or reason to believe or probable cause

there was any violation of 18 U.S.C. 5104(e)(2)(G) (which is Count 9).

       It is not only the opinion of counsel for Defendant Gray that there is no allegation

supporting a charge of “Parading, Demonstrating, or Picketing in a Capitol Building,” but the

Statement of Offense (again combined with the complete lack of any factual allegations in the

threadbare indictment) does not claim that there has been any violation of 18 U.S.C.



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5104(e)(2)(G).

       Therefore, Count 9 fails to state an offense. Count 9 must be stricken pursuant to Rule

12(3)(B)(v) of the Federal Rules of Criminal Procedure (“FRCP”) “failure to state an offense.”

       Moreover, if there were such factual allegations, Count 9 would violate the First

Amendment to the U.S. Constitution, including as void for vagueness.

       Furthermore, merely being present in a crowd does not make one guilty of what others in

the crowd did or are doing.

       Further, if the allegations – denied by Defendant Gray by the way – of Gray being

disorderly or violent are what the prosecution views as “parading, demonstrating, or picketing”

than it is merely the same Count as Count 5 and Count 7, and arguably Count 4. Therefore,

Count 9 must be dismissed pursuant to FRCP Rule 12 (3)(B) (ii) “charging the same offense in

more than one count (multiplicity); …” Despite the possible convenience to the Government of

raising alternative theories of liability, the collision with the First Amendment is too great here.

       The Court is urged not to fall into the mistake sometimes made that there is some claim

of violent physical conduct being treated as First Amendment activity, as occurred in USA v.

Nordean, Criminal Case No. 1:21-cr-00175. In no way is Gray suggesting that the First

Amendment drapes conduct that is violent or disruptive with immunity. The point is to draw a

distinction between conduct that is purely expressive, or a risk of sweeping purely expressive

activity in with properly-prohibited physical conduct.


II. THE ALLEGATIONS AT ISSUE

       Defendant Daniel Paul Gray (“Gray”) is charged with nine (9) Counts which actually in

substance come down to --

           a. One Count of 18 U.S.C. § 1512(c)(2) “Obstruction of an Official Proceeding” for



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               allegedly disrupting the quadrennial Joint Session of Congress for the receipt,

               evaluation, resolution of disputes about, and ultimate counting of the votes for

               President and Vice President by the Electoral College, including allegedly aiding

               and abetting thereof, which is a felony punishable by up to 20 years in prison.

           b. Four variations of “Entering and Remaining in a Restricted Building or Grounds”

               with charges of disruption thereby 1 including under 18 U.S.C. § 1752(a)(1) and

               (2) and 40 U.S.C. § 5104(e)(2)(D) “Disorderly Conduct in a Capitol Building”

               and (G) “Parading, Demonstrating or Picketing in a Capitol Building.”

           c. Four variations of charges of violence including 18 U.S.C. § 231(a)(3) acts in

               furtherance of “Civil Disorder” or hindering officers during a civil disorder; 18

               U.S.C. § 111(a)(1) “Assaulting, Resisting, or Impeding Certain Officers”; 18

               U.S.C § 1752(a)(4) “Engaging in Physical Violence in a Restricted Building or

               Grounds”; and 40 U.S.C. § 5104(e)(2)(F) “Acts of Violence in the Capitol

               Grounds or Buildings.”

       The First Superseding Indictment (“FSI”) filed on December 1, 2021, at Dkt. No. 25, is

as the law customarily describes such as “thread bare.” It consists only of conclusory statements

of law and no factual allegations whatsoever. Presumably, the FSI is illuminated by the

Statement of Facts filed on May 17, 2021, at Dkt. No. 1-1, originally in Magistrate Case No.

1:21-mj-00429-GMH, which states:

           a. “shortly around 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol,
              including by breaking windows and by assaulting members of the U.S. Capitol
              Police, as others in the crowd encouraged and assisted those acts.”

               However, there are no allegations that Gray had anything to do with any of that, and
               the allegations indicate that Gray was not present until 2:57 PM.


1
       Apparently meaning just being disruptive in general, not disruption of the Joint Session.


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           b. As the proceedings continued in both the House and the Senate, and with Vice
              President Mike Pence present and presiding over the Senate, a large crowd
              gathered outside the U.S. Capitol.

           c. Temporary and permanent barricades were in place around the exterior of the U.S.
              Capitol building, and U.S. Capitol Police were present and attempting to keep the
              crowd away from the Capitol building and the proceedings underway inside.

           d. Members of the U.S. Capitol Police attempted to maintain order and keep the
              crowd from entering the Capitol; however, shortly around 2:00 p.m., individuals
              in the crowd forced entry into the U.S. Capitol, including by breaking windows
              and by assaulting members of the U.S. Capitol Police, as others in the crowd
              encouraged and assisted those acts.

           e. Shortly thereafter, at approximately 2:20 p.m. members of the United States
              House of Representatives and United States Senate, including the President of the
              Senate, Vice President Mike Pence, were instructed to—and did—evacuate the
              chambers. 2

           f. Gray states that “a female cop stole my phone and I got mace’d . . . and I’m like
              you know what, we’re doing this and so we literally pushed them from the front
              steps of the Capitol all the way back.” (Gray disputes this account of events.)

           g. The affiant reviewed body-worn cameras worn by members of the Washington,
              D.C. Metropolitan Police Department (“MPD”) that recorded Gray inside the
              Rotunda area of the U.S. Capitol Building on January 6, 2021. In sum, the body-
              worn camera footage recorded that, at approximately 2:57 p.m., a group of MPD
              and United States Capitol Police (“USCP”) officers were standing at the top of the
              stairs off of the west-side of the Capitol Rotunda, in an effort to deny the rioters
              the ability to maneuver through the Rotunda.

           h. In one body-worn camera video, Gray joined a group of rioters, who are yelling at
              the officers for various reasons, and Gray remained in the vicinity. 3

       Yelling of course does not by itself constitute a riot. The U.S. Capitol being 751 feet




2
        Actually, the cause of recessing Congress existed as early as 2:14 PM, according to the
court testimony of (then) U.S. House Parliamentarian Thomas J. Wickham in USA v. Stewart
Rhodes, et al., Criminal Case No. 1:22-cr-00015, testimony on October 19, 2022. Clearly, the
earliest reaction to a threat would indicate when the threat first existed.
3
        No crime exists, of course, of merely being in the vicinity of a riot. It is repugnant to
American law to judge people other than as individuals for their individual actions. See, e.g.,
The Dream Defenders, et al., v. Ron DeSantis, 21-cv-191, ECF No. 137 (N.D. Fla. Sept. 9, 2021)
(injunction against anti-riot law in part because the legislation appeared to criminalize the de-
fendant’s protest activities even if he did not participate in the violent acts of others).


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long and frequently filled with tours of school children, tourists, visitors, lobbyists, special

interest groups, staff, and visiting government personnel, yelling might not even qualify as

disruptive. The word “yelling” can over a broad spectrum of very different activity, especially

given the size of the Capitol building. And what constitutes a riot turns on other factors, not on

yelling. A large crowd all yelling in unison could violate noise limitations yet perhaps in no way

constitute any kind of riot in a given fact pattern. Indeed, yelling alone, whether lawful or not,

would probably never be a riot. As to being “in the vicinity” of rioters, 18 U.S. Code § 2102 –

“Definitions” provides a statutory definition of “riot” in s section focused on riots as:


              (a)
              As used in this chapter, the term “riot” means a public disturbance
              involving (1) an act or acts of violence by one or more persons part of an
              assemblage of three or more persons, which act or acts shall constitute a
              clear and present danger of, or shall result in, damage or injury to the
              property of any other person or to the person of any other individual or
              (2) a threat or threats of the commission of an act or acts of violence by
              one or more persons part of an assemblage of three or more persons
              having, individually or collectively, the ability of immediate execution of
              such threat or threats, where the performance of the threatened act or acts
              of violence would constitute a clear and present danger of, or would
              result in, damage or injury to the property of any other person or to the
              person of any other individual.

       Thus, the significant characteristics are not those that sound in the First Amendment.


III. GOVERNING LAW:

       Prosecutors while enjoying many advantages such as nearly limitless government

resources, must also meet more compelling and strict burdens than usual for attorneys in other

contexts:

              In Berger v. United States, Justice George Sutherland, who was part of
              the Schechter majority, said the following about the role of the
              prosecutor:




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                 [He] is the representative not of an ordinary party to a
                 controversy, but of a sovereignty whose obligation to gov-
                 ern impartially is as compelling as its obligation to govern
                 at all; and whose interest, therefore, in a criminal prose-
                 cution is not that it shall win a case, but that justice shall
                 be done. As such, he is in a peculiar and very definite sense
                 the servant of the law, the twofold aim of which is that guilt
                 shall not escape or innocence suffer. He may prosecute
                 with earnestness and vigor-indeed he should do so. But
                 while he may strike hard blows, he is not at liberty to strike
                 foul ones. It is as much his duty to refrain from improper
                 methods calculated to produce a wrongful conviction as it
                 is to use every legitimate means to bring about a just one.
                 7



Bennett L. Gershman, "Hard Strikes and Foul Blows:" Berger v. United States 75 Years After, 42
Loy. U. Chi. L. J. 177, 179 (2010). Available at: http://lawecommons.luc.edu/lu-
clj/vol42/iss1/8 (citing to Berger v. United States, 295 U.S. 78, 88 (1935) (emphases added).

       Perhaps even more compelling:

           Also, there is little doubt that Justice Sutherland's articulation of the
           special obligation of the prosecutor to ensure that "justice shall be done"
           was influenced by then-Canon 5 of the Canons of Professional Ethics of
           the American Bar Association, which stated:

                 "The primary duty of a lawyer engaged in public prosecu-
                 tion is not to convict, but to see that justice is done. The
                 suppression of facts or the secreting of witnesses capable
                 of establishing the innocence of the accused is highly rep-
                 rehensible."

Gershman, at 194.

           40 U.S.C. §5104(e)(2)(G) is part of a sequence of statutory provisions
           concerning potentially unlawful activity on the Capitol Grounds and, in
           some circumstances, in locations in Capitol Buildings. Different provi-
           sions of 40 U.S.C. §5104 have different location restrictions in terms of
           applicability. 40 U.S.C. §5104(c) limits (1) articles for sale; (2) display-
           ing a sign placard or other form of advertisement; and (3) soliciting
           fares, alms or contributions on the Grounds. 40 U.S.C. §5104(d) limits
           conduct to remove or injure architectural features or plants on the
           Grounds. 40 U.S.C. §5104(d). 40 U.S.C. §5104(e)(2)(a)-(c) refer to spe-
           cific rooms in the Capitol Buildings. 40 U.S.C. §5104(e)(2)(a)-(c). 40
           U.S.C. §5104(e)(2)(d)-(f) apply to both the Grounds and any of the




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            Capitol Buildings. However, 40 U.S.C. §5104(e)(2)(G) applies only in
            any Capitol Building. 4


IV. ARGUMENT

           A. MOTION TO DISMISS FOR FAILURE TO STATE AN OFFENSE

       As stated, the First Superseding Indictment contains no factual allegations at all on any

topic. The Statement of Offense, even if we may give extreme generosity to the Government

that the Statement of Offense for issuing an arrest warrant may be used to supplement the fact-

free indictment, there are no factual allegations in the Statement of Offense either that Defendant

Gray that Gray engaged in any “parading,” any “picketing,” or any “demonstrating.”

       In Hunter v. District of Columbia , 47 App. D.C. 406 (D.C. Cir. 1918), for example, the

Circuit Court examined an indictment that alleged that the defendants had "congregate[d] and

assemble[d] on Pennsylvania avenue, N.W., [and] did then and there crowd, obstruct, and

incommode the free use of the sidewalk thereof on said avenue" in violation of the unlawful

assembly statute. Id. at 408. Beyond the general terms of acts prohibited by the statute, there was

no averment of fact "to inform defendants of the nature of the acts which [were] relied upon by

the prosecution as constituting alleged obstruction of the sidewalk, or that would enable

defendants to make an intelligent defense, much less to advise the court of the sufficiency of the

charge in law to support a conviction." Id. at 410. And the fact that the charging document

"fail[ed] to set out the acts committed by the defendants which constituted the crowding


4
        Nandan Kenkeremath, Memorandum Of Points And Authorities In Support Of Defend-
ants’ Second Motion To Dismiss Count IV Of The Superseding Information Based On A Facial
Challenge To 40 U.S.C. §§5104(E)(2)(G) And Motion For Declaratory Judgment Under 28
U.S.C § 2201 Based On The Facial Challenge, in USA v. Cynthia Ballenger Price and Christo-
pher Price, Criminal Case No. 1:21-cr00719-JEB, Dkt. # 54; Memorandum Of Points And Au-
thorities In Support Of Defendant’s First Motion To Dismiss The Superseding Information, in
Price, Dkt. # 55.


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bstructing of the free use of the walk by them[,]" Id. at 409, was a fatal flaw. As stated by the

Hunter Court:

            [i]t is elementary that an information or indictment must set out the facts
            constituting the offense, with sufficient clearness to apprise the
            defendant of the charge he is expected to meet, and to inform the court of
            their sufficiency to sustain the conviction. ... In other words, when the
            accused is led to the bar of justice, the information or indictment must
            contain the elements of the offense with which he is charged, with
            sufficient clearness to fully advise him of the exact crime which he is
            alleged to have committed.

Id. at 409, 410 (emphasis added) (internal quotation marks and citation omitted).

        The Hunter Court also observed that the defendants in that case could have engaged in a

number of acts that fell outside the scope of the statute, and thus, by failing to specify the

defendants' particular conduct, the indictment was "too vague, general, and uncertain to meet the

requirements of the established rules of criminal pleading," which in turn rendered it

"insufficient in law." Id. at 410.

        Before trial, a defendant in a criminal case may move to dismiss the charging document

for failure to state an offense. Fed. R. Crim. P. 12(b)(3)(B)(v). See United States v. Akinyoyenu,

199 F. Supp. 3d 106, 109 (D.D.C. 2016)(Citations omitted). The operative question is whether

the allegations in the indictment, if proven, permit a jury to conclude that the defendant

committed the criminal offense as charged. Ankinyoyenu at 9-10. See United States v. Sanford,

Ltd., 859 F. Supp. 2d 102, 107 (D.D.C.2012); United States v. Bowdoin, 770 F. Supp. 2d 142,

146 (D.D.C.2011). Moreover, in analyzing this, “a district court is limited to reviewing the face

of the charging document and, more specifically, the language used to charge the crimes.”

United States v. Sharpe, 438 F.3d 1257, 1263 (11th Cir. 2006)(emphasis original).

        A valid information must set out "the elements of the offense intended to be charged and

sufficiently apprise the defendant of what he must be prepared to meet." United States v. Pickett,



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353 F.3d 62,67 (D.C. Cir. 2004). The government must state the essential elements of the crime

and allegations of "overt acts [constituting the offense] with sufficient specificity." United States

v. Childress, 58 F.3d 693, 720 (D.C. Cir. 1995).

       A criminal complaint is also meant to satisfy at least two constitutional provisions. First,

it gives Sixth Amendment notice of the nature and circumstances of the alleged crime so the

accused may meet the charge and defend himself. United States v. Hitt, 249 F.3d 1010, 1016

(D.C. Cir. 2001); Hamling v. United States, 418 U.S. 87, 117 (1974). Second, a valid indictment

fulfills the Fifth Amendment’s edicts that citizens are not placed in jeopardy twice for the same

offense. Stirone v. United States, 361 U.S. 212, 218 (1960); United States v. Martinez, 764

F.Supp.2d 166, 170 (D.D.C.2011) (quotations and citations omitted). That is, the allegations

must be sufficiently clear, complete, thorough enough, non-generic, and specific to the particular

Defendant to identify if the Defendant were later charged with the same offense that double

jeopardy applies to bar a second prosecution of the same offense.

       A criminal complaint fulfills these fundamental constitutional provisions when it sets out

both the elements of the crime and the factual circumstances that would satisfy those elements

when assumed true. Hamling, 418 U.S. at 118-19. A criminal complaint may be dismissed as

constitutionally insufficient when it does not join the elements with factual allegations. See

Russell v. United States, 369 U.S. 749, 763-771 (1962); United States v. Hillie, 227 F. Supp. 3d

57 (D.D.C. Jan. 5, 2017). The Supreme Court explained:

            “[The second object of an indictment is] to inform the court of the facts
            alleged, so that it may decide whether they are sufficient in law to
            support a conviction. For this, facts are to be stated, not conclusions of
            law alone.” United States v. Cruikshank, 92 U.S. 542, 558 (1875).

       The Supreme Court also noted:




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            "It is an elementary principle of criminal pleading, that where the
            definition of an offence, whether it be at common law or by statute,
            `includes generic terms, it is not sufficient that the indictment shall
            charge the offence in the same generic terms as in the definition; but it
            must state the species, — it must descend to particulars.'" Id. (emphasis
            added).

       The Supreme Court made it clear that allegations that are generic and not specific to a

specific defendant are not sufficient.

       The Fifth and Sixth Amendments and Rule 7(c)(1) generally require that the elements be

combined with allegations of fact that establish the offense when assumed true. Hamling, 418

U.S. at 117-118; Fed. R. Crim. Proc. 7(c)(1) (“The indictment or information must be a plain,

concise, and definite written statement of the essential facts constituting the offense charged...”)

(emphasis added). The D.C. Circuit has also ruled on the necessity of factual allegations. See

United States v. Nance, 533 F.2d 699, 701-703 (D.C. Cir. 1976) (reversing where the indictment

failed to make necessary factual allegations).



           B. MOTION TO DISMISS BECAUSE STATUTE AS APPLIED
              VIOLATES THE FIRST AMENDMENT RIGHTS OF
              DEFENDANT GRAY AND IS UNCONSTITUTIONALLY
              VAGUE IN CONFLICT WITH THE FIRST AMENDMENT. 5

               1) 40 U.S.C. §5104(e)(2)(G) Carries the Serious Consequences
                  of a Criminal Statute with Criminal Penalties.

       40 U.S.C. §5104(e)(2)(G) is a criminal provision and subject to penalties including a fine

under title 18, imprisonment of not more than six months, or both. See 40 U.S.C. §5109(b).




5
        With compliments to attorney Nandan Kenkeremath pioneering similar motions earlier
this Summer in USA v. Cynthia Ballenger Price and Christopher Price, Criminal Case No. 1:21-
cr00719-JEB in this Court. Those parallel motions are awaiting decision. Counsel is not yet
sure, with motions deadline looming, whether the Court would allow joining motions from other
cases instead of filing them here in this case.


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Indeed, 40 U.S.C. §5109(b) makes an “attempt” to commit a violation of 40 U.S.C.

§5104(e)(2)(G) subject to the same potential criminal sanctions. Moreover, 40 U.S.C.

§5104(e)(2)(G) connects to 18 U.S.C. § 2 which provides:

            (a) Whoever commits an offense against the United States or aids, abets,
                counsels, commands, induces or procures its commission, is
                punishable as a principal.

            (b) Whoever willfully causes an act to be done which if directly
                performed by him or another would be an offense against the United
                States, is punishable as a principal.

       As a corollary, the Court has altered its traditional rules of standing to permit — in the

First Amendment area — "attacks on overly broad statutes with no requirement that the person

making the attack demonstrate that his own conduct could not be regulated by a statute drawn

with the requisite narrow specificity." Dombrowski v. Pfister, 380 U.S. 479, 486 (1965).Id. at

611.

       The Broadrick Court, infra, continued that “Litigants, therefore, are permitted to

challenge a statute not because their own right of free expression are violated, but because of a

judicial prediction or assumption that the statute's very existence may cause others not before the

court to refrain from constitutionally protected speech or expression. Id.

               2) 40 U.S.C. §5104(e)(2)(G) Directly and Solely Addresses
                  First Amendment Protected Conduct

       40 U.S.C. §5104(e)(2)(G) prohibits three specific modes of First Amendment activity—

parading, demonstrating, and picketing. Other First Amendment activity that is not within the

ambit of parading, demonstrating or picketing are not prohibited.

       As discussed further below, both 40 U.S.C. §5104(e)(2)(G) and (f) are expressly defined

by First Amendment activity. Whereas other provisions such as 40 U.S.C. §5104(b), (d), and (e)

limit activity without reference to First Amendment activity terms. For example, 40 U.S.C.



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§5104(e)(2)(D)-(F) have restrictions stating an individual or group of individuals may not:

                  (D) utter loud, threatening, or abusive language, or engage in
                  disorderly or disruptive conduct, at any place in the Grounds
                  or in any of the Capitol Buildings with the intent to impede,
                  disrupt, or disturb the orderly conduct of a session of Congress
                  or either House of Congress, or the orderly conduct in that
                  building of a hearing before, or any deliberations of, a com-
                  mittee of Congress or either House of Congress;

                  (E) obstruct, or impede passage through or within, the
                  Grounds or any of the Capitol Buildings;

                  (F) engage in an act of physical violence in the Grounds or
                  any of the Capitol Buildings

       Just looking at the text, 40 U.S.C. §5104(e)(2)(G) can cover a universe of conduct that

can run afoul of one or more of the provisions of 40 U.S.C. §5104(e)(2)(D)-(F) but may or may

not also a universe of conduct that does not run afoul of one or more of the provisions of 40

U.S.C. §5104(e)(2)(D)-(F).

       By its own terms 40 U.S.C. §5104(e)(2)(G) addresses parading, demonstrating and

picketing. Somewhat similar to §5104(e)(2)(G), 40 U.S.C. §5104(f) states:

       (f) Parades, Assemblages, and Display of Flags.— Except as provided in section 5106

of this title, 6 a person may not—

                  (1) parade, stand, or move in processions or assemblages in
                  the Grounds; or
                  (2) display in the Grounds a flag, banner, or device designed
                  or adapted to bring
                  into public notice a party, organization, or movement.

       As a comparison, 40 U.S.C. §5104(e)(2)(G) states: “An individual or group of individuals

may not willfully and knowingly—parade, demonstrate or picket in any of the Capitol

Buildings.”



6
       Speaker and President of the Congress may suspend prohibitions for special events.


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       As stated in Houston v. Hill, 482 U.S. 451, 107 S. Ct. 2502 (1987):

            Instead, "[i]n a facial challenge to the overbreadth and vagueness of a
            law, a court's first task is to determine whether the enactment reaches a
            substantial amount of constitutionally protected conduct." Hoffman
            Estates v. The Flipside, Hoffman Estates, Inc., 455 U.S. 489, 494 (1982);
            Kolender v. Lawson, 461 U.S. 352, 359, n. 8 (1983). Criminal statutes
            must be scrutinized with particular care, e.g., Winters v. New York, 333
            U.S. 507, 515 (1948); those that make unlawful a substantial amount of
            constitutionally protected conduct may be held facially invalid even if
            they also have legitimate application. E. g., Kolender, supra, at 359, n. 8.


               3) 40 U.S.C. §5104(e)(2)(G) is Unconstitutional, Facially
                  or as Applied

       The First Amendment literally says “Congress shall make no law” restricting speech,

advocacy, or petitioning. By consultation with any English dictionary, this freedom must apply

to “picketing” and “parading” and “demonstrating.”

       The Court in Bynum v. United States Capitol Police Board, 93 F. Supp. 2d 50 (D.D.C.

2000) found regulations purporting to implement 40 U.S.C. §5104(e)(2)(G) to violate the First

Amendment and Due Process. With respect to the First Amendment the Bynum Court states:

            The Court, however, cannot conclude that the regulation is reasonable in
            light of the purposes it could legitimately serve. While the regulation is
            justified by the need expressed in the statute to prevent disruptive
            conduct in the Capitol, it sweeps too broadly by inviting the Capitol
            Police to restrict behavior that is in no way disruptive, such as
            “speechmaking… or other expressive conduct…” Traffic Regulations for
            the Capitol Grounds §158. Because the regulations proscriptions are not
            limited to the legitimate purposes set forth in the statue, it is an
            unreasonable and therefore an unconstitutional restriction on speech. …

Id. at 57 (Citations omitted).

       In Bynum Judge Friedman also found that a “picketing and parading” ban violated due

process because it was vague: “While there certainly are types of expressive acts that rise to the

level of a demonstration, any regulation that allows a police officer the unfettered discretion to




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restrict behavior merely because it ‘conveys a message’ or because it has a ‘propensity to attract

a crowd of onlookers’ cannot survive a due process challenge.” Id.

        With respect to Due Process and unconstitutional vagueness, the Bynum Court states:

             In fact, the definition of “demonstration” in the regulation encompassing
             all expressive conduct, whether disruptive or not appears to expand the
             restrictive powers given by the statute to the Capitol Police rather than
             limit or guide them. This definitional “guidepost” thus has the potential
             to squelch nearly any type of expressive conduct, whether or not it is
             actually a demonstration, and may sweep within its scope expression that
             is protected by the First Amendment. The regulation therefore is both
             unconstitutionally overbroad and unconstitutionally vague.

Id. at 58.

        The main holding in Bynum was that broad regulations purporting to implement 40

U.S.C. §5104(e)(2)(G) violated the First Amendment and Due Process. As part of its analysis,

the Bynum Court stated:

             Indeed, the regulation goes beyond what Congress intended and permits
             the Capitol Police to block activity not proscribed or intended to be
             proscribed by the statute Congress enacted. The statute prohibits loud,
             threatening or abusive language; any disorderly or disruptive conduct
             engaged in with the intent to impede, disrupt or disturb the orderly
             conduct of any session of Congress or a congressional hearing or
             committee meeting; any behavior that obstructs or impedes passage
             through or within the Capitol or any of its buildings or grounds; physical
             violence; and parades and picketing. 40 U.S.C. § 193f(b) (4)-(7).[5]
             When viewed in the context of these other various forms of statutorily
             prohibited behavior, Congress' statutory prohibition against
             "demonstrat[ing]" appears aimed at controlling only such conduct that
             would disrupt the orderly business of Congress not activities such as
             quiet praying, accompanied by bowed heads and folded hands. The
             police could properly use the statutory standards of Section 193f(b) itself
             to control, for example, groups of people praying in a way that impeded
             or obstructed passageways, hearings or meetings, involved loud,
             threatening or abusive language or physical violence, or was otherwise
             disorderly or disruptive. Plaintiff's activity was none of these.

Bynum at 57-58.

        See also Lederman v. U.S., 291 F.3d 36 (D.C. Cir. 2002) (reviewing facial First



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Amendment challenge to a regulatory prohibition on demonstration activities outside Capitol

building). As stated in Lederman,

            We hold only that, as currently written, the demonstration ban imposes
            "a serious loss to speech . . . for a disproportionately small governmental
            gain," Citing White House Vigil for the ERA Comm. v. Clark, 746 F.2d
            1518, 1544 (D.C. Cir. 1984)(Wald, J. concurring in the judgement in part
            and dissenting in part on other grounds).

Lederman at 46.

       Lederman undercuts a key pillar of the logic:

            If "time, place, or manner restrictions can[not] bootstrap themselves into
            validity by their mere existence, even if prolonged," Henderson v. Lujan,
            964 F.2d 1179, 1183 (D.C. Cir. 1992) (emphasis added), then
            unconstitutional restrictions certainly cannot, by their mere existence,
            bootstrap subsequent restrictions into validity.

Lederman at 43.

       In Jeannette Rankin Brigade v. Chief of Capitol Police, 342 F. Supp. 575 (D.D.C. 1972)

(emphases added), the court states:

            The Capitol Grounds (excluding such places as the Senate and House
            floors, committee rooms, etc.) have traditionally been open to the
            public; indeed, thousands of people visit them each year. Thus, we
            cannot agree with the defendants that the Capitol Grounds have ever
            been characterized by the serenity and quiet of a hospital or library.

       While the Jeannette Rankin Brigade court was reviewing an issue concerning the Capitol

Grounds, the stated exclusions of the Senate and House floors and committee rooms is more

consistent with the public availability issues. In any event, the Jeannette Ranking Brigade court

did not specifically opine on areas of Capitol Buildings that were not the Senate and House

floors or committee rooms.

       In Jeannette Rankin Brigade, 342 F. Supp.at 583-84, the Court held a blanket statutory

prohibition on parades, assemblages or processions on Capitol Grounds is unconstitutional. See




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also Gregory v. Chicago, 394 U.S. 111, 89 S. Ct. 946 (1969) (where the Supreme Court

reviewed a protest march aimed at the Chicago city government and held that as long as marches

are “peaceful and orderly” they are protected by the First Amendment.); Edwards v. South

Carolina, 372 U.S. 229, 83 S. Ct. 680 (1963); Carey v. Brown, 447 U.S. 455, 100 S. Ct. 2286

(1980); Police Department of Chicago v. Mosley, 408 U.S. 92, 92 S. Ct. 2286 (1972); and

Thornhill v. Alabama, 310 U.S. 88, 60 S. Ct. 736 (1940).

               4) 40 U.S.C. §5104(e)(2)(G) Does Not Survive Constitutional
               Muster Because It Is Overbroad Under the First Amendment
               and Overbroad and Unduly Vague Under the Fifth Amend-
               ment

       First, a law is unconstitutionally vague when “it fails to give ordinary people fair notice

of the conduct it punishes, or [is] so standardless that it invites arbitrary enforcement.” Johnson

v. United States, 576 U.S. 591, 595 (2015). As stated in Johnson:

            [O]ur holdings squarely contradict the theory that a vague provision is
            constitutional merely because there is some conduct that clearly falls
            within the provision's grasp. For instance, we have deemed a law
            prohibiting grocers from charging an "unjust or unreasonable rate" void
            for vagueness—even though charging someone a thousand dollars for a
            pound of sugar would surely be unjust and unreasonable. L. Cohen
            Grocery Co., 255 U.S. at 89, 41 S.Ct 298. We have similarly deemed
            void for vagueness a law prohibiting people on sidewalks from
            "conduct[ing] themselves in a manner annoying to persons passing by"—
            even though spitting in someone's face would surely be annoying.
            Coates v. Cincinnati, 402 U.S. 611, 91 S.Ct. 1686, 29 L.Ed. 2d 214
            (1971). These decisions refute any suggestion that the existence of some
            obviously risky crimes establishes the residual clause's constitutionality.

As stated in N.A.A.C.P. v. Button, 371 U.S. 415, 83 S. Ct. 328 (1963):

            If the line drawn by the decree between the permitted and prohibited
            activities of the NAACP, its members and lawyers is an ambiguous one,
            we will not presume that the statute curtails constitutionally protected
            activity as little as possible. For standards of permissible statutory
            vagueness are strict in the area of free expression. See Smith v.
            California, 361 U.S. 147, 151; Winters v. New York, 333 U.S. 507, 509-
            510, 517-518; Herndon v. Lowry, 301 U.S. 242; Stromberg v.



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            California, 283 U.S. 359; United States v. C.I.O., 335 U.S. 106, 142
            (Rutledge, J., concurring).

N.A.A.C.P. at 432.

       As discussed above, two court decisions in Bynum and Lederman struck down attempts

to provide regulations to provide guidance regarding 40 U.S.C. §5104(e)(2)(G). In other words,

two sets of proposed regulations failed Constitutional muster because a board could not properly

draw the line between protected and not protected conduct under Due Process and the First

Amendment. Again, it is important to understand that 40 U.S.C. §5104(e)(2)(G) does not require

illegal entry to the Capitol as an element. On its own terms to “parade, demonstrate, or picket”

can draw criminal sanctions under the provision, regardless of how a party entered. Yet, as

discussed above, people often go to the Capitol as part of their day and broader range of

activities. Sometimes, these activities highlight or concern political causes or issues. They may

all wear the same political messages on their t-shirts. They may all walk together in groups.

These points should not provide for a criminal violation under the Constitution.

       “An overbroad statute "sweeps within its scope a wide range of both protected and

nonprotected expressive activity." Hobbs v. Thompson, 448 F.2d 456, 460 (5th Cir. 1971).”

Commission for Lawyer Discipline v. Benton, 980 S.W.2d 425, 435 (Tex. 1998).

       As stated in Hobbs:

            Lack of fair warning to actors or lack of adequate standards to guide
            enforcers also may lead to a "chill" on privileged activity. A person
            contemplating action who might be covered by a vague statute is left in
            doubt as to whether he is covered by the statute and, if so, whether his
            claim of privilege will be upheld. [Citations omitted]. Hobbs at 460-
            461.

       As further stated in Hobbs:

            The overbreadth doctrine, therefore, focuses directly on the need for
            precision in legislative draftmanship to avoid conflict with First



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            Amendment rights. Even though the interests a statute promotes may
            justify some infringement upon First Amendment rights, the overbreadth
            doctrine condemns those means to that legitimate end which comprehend
            too broad an incursion upon the realm of First Amendment activity.
            Where a law is substantially overbroad, in that it sweeps within its scope
            a wide range of both protected and non-protected expressive activity, and
            where no "readily apparent construction suggests itself as a vehicle for
            rehabilitating the statute in a single [proceeding]," Hobbs at 460.

       As stated by the Supreme Court in Smith v. Goguen, 415 U.S. 566, 94 S. Ct. 1242 (1974):

            [The doctrine of due process and vagueness] requires legislatures to set
            reasonably clear guidelines for law enforcement officials and triers of
            fact in order to prevent “arbitrary and discriminatory enforcement.”
            [footnote omitted]. Where a statute’s literal scope, unaided by a
            narrowing state court interpretation, is capable of reaching expression
            sheltered by the First Amendment, the doctrine demands a greater degree
            of specificity than in other contexts. [footnote omitted] Id. at 573.

       The overbreadth concerns date back to the legislative history. During a statutory revision

in 1967, Representative O’Neal stated, “I am a little bit disturbed about the language…wherein

the proposed legislation, if adopted, would make it a violation to parade, demonstrate, or picket

within any of the Capitol buildings.” Congressional Record-House (October 19, 1967) at 29389,

available at https://www.govinfo.gov/content/pkg/GPO-CRECB-1967-pt22/pdf/GPO-CRECB-

1967-pt22-2-1.pdf (last accessed June 1, 2022) (hereinafter “Congressional Record”).

       Representative Bingham expressed concerns about overbreadth:

            I am deeply concerned about the broad scope, vague language, and
            possible interference with first amendment rights of the bill before us
            today. It was so hastily conceived and reported out of committee that no
            official views of the Justice Department or the District government were
            available. Moreover, there seems to be no disposition on the part of the
            bill’s supporters to accept clarifying amendments.

Congressional Record at 29394. He also commented on the law’s potential impact on peaceful,

quiet visitors, describing the law as “a case of using a shotgun to eliminate at gnat.”

Congressional Record at 29395. At the time of the 1967 revision, Representative Edwards




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expressed that he believed the “parading, picketing, or demonstrating language violated the First

Amendment because it was not limited to disorderly or disruptive conduct. Congressional

Record at 29392. Representative Cramer stated that to add “with intent to disrupt the orderly

conduct of official business” would “gut [ ] the section,” suggesting Representative Cramer, at

least, did not care about the qualification. Id. at 29394.

        Here the range of possible actions that may fall under the umbrella of 40 U.S.C.

§5104(e)(2)(G) is a formless mix that includes actions protected under the First Amendment.

What if someone broadcasts from his or her smart phone and criticizes the government on that

broadcast? That action poses no security issue yet could arguably be viewed as “demonstrating.”

Or is that reporting? If people gather in the Capitol to celebrate a political victory is that a

demonstration or parade? What if people walked in a group carrying signs in a hallway. How is

this a different security or operational risk for Congress? Groups of students and others may

walk in single or double file all where tee-shirts celebrating America or a school. Is that a

“parade?” Again, the Capitol Police and those in charge of security and visitors can restrict areas,

size of groups, duration of stay, volume, and items that might pose a risk, all without referring to

whether the conduct is also a First Amendment mode of conduct like a demonstration. People

commonly communicate political ideas in the Capitol Buildings and that expression is protected

under First Amendment.

                5) 40 U.S.C. §5104(e)(2)(G) Unconstitutionally Chills and
                Threatens Constitutionally Protected First Amendment Rights.

        “Narrow tailoring is crucial where First Amendment activity is chilled–even if

indirectly– ‘[b]ecause First Amendment freedoms need breathing space to survive.’” Id. at 2384

(citing NACCP v. Button, 371 U.S. 415, 433 (1963)).




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            This is especially true in the context of the First Amendment. As the
            Government stated, this case “would require a remand” to apply a de
            minimis standard. Tr. of Oral Arg. 39 (Sept. 9, 2009). Applying this
            standard would thus require case-by-case determinations. But
            archetypical political speech would be chilled in the meantime. “ ‘First
            Amendment freedoms need breathing space to survive.’ ” WRTL,supra,
            at 468–469, 127 S.Ct. 2652 (opinion of ROBERTS , C.J.) (quoting
            NAACP v. Button, 371 U.S. 415, 433, 83 S.Ct. 328, 9 L.Ed.2d 405
            (1963) ). We decline to adopt an interpretation that requires intricate
            case-by-case determinations to verify whether political speech is banned,
            especially if we are convinced that, in the end, this corporation has a
            constitutional right to speak on this subject.

Citizens United v. Fed. Election Commission, 130 S. Ct. 876, 175 L. Ed. 2d 753, 558 U.S. 310,
329 (2010).

            The First Amendment does not permit laws that force speakers to retain a
            campaign finance attorney, conduct demographic marketing research, or
            seek declaratory rulings before discussing the most salient political
            issues of our day. Prolix laws chill speech for the same reason that vague
            laws chill speech: People “of common intelligence must necessarily
            guess at [the law's] meaning and differ as to its application.” Connally v.
            General Constr. Co., 269 U.S. 385, 391, 46 S.Ct. 126, 70 L.Ed. 322
            (1926). The Government may not render a ban on political speech
            constitutional by carving out a limited exemption through an amorphous
            regulatory interpretation. We must reject the approach suggested by the
            amici . Section 441b covers Hillary .

Citizens United v. Fed. Election Commission, 558 at 324.


               6) 40 U.S.C. §5104(e)(2)(G) Suffers from Over-breadth and
                  Inconsistent, Discriminatory Restrictions

       There are also differences in the class of people subject to the provisions of 40 U.S.C.

§5104. 40 U.S.C. §5104(a), (b), (c), (d) and (f) all apply to “a person.” On the other hand, 40

U.S.C. §5104(e)(3) has an exemption from all of 40 U.S.C. §5104(e) which states:

       (3) Exemption of government officials.— This subsection does not prohibit any act

       performed in the lawful discharge of official duties by—

                  (A) a Member of Congress;
                  (B) an employee of a Member of Congress;



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                  (C) an officer or employee of Congress or a committee of
                  Congress; or
                  (D) an officer or employee of either House of Congress or a
                  committee of that House.

       The recent opinion of U.S. District Judge Colleen Kollar-Kotelly, shows the immediacy

and importance of the issues the Prices raise in the facial challenge. The opinion states:

            Defendant primarily argues that because he was “recording” as a
            “videographer,” he was not “parading or “demonstrating.” The two,
            however, are not mutually exclusive. In truth, Defendant acted more as a
            social media influencer might, frequently urging his followers to “share,
            share, share.”[citation omitted] Sharing, Rivera may have hoped, could
            have helped him “get [his][addition in original] name out there,” one of
            Rivera’s stated reasons for going to the Capitol on January 6, 2021.
            [citation omitted]. Indeed just before he joined the crowd, he was
            primarily concerned that no one appeared to be watching his Facebook
            Live [citation omitted]

       As noted above, cameras, smart phones and recording are all allowed in the Capitol

Buildings in most places. So, would the relationship to social media turn recording and

commenting on a smart phone into conduct that is “demonstrating?” This was apparently

relevant to one U.S. district court judge.

       The Rivera opinion’s use of Brown v. Louisiana 383 U.S. 131 (1966) and Clark v. Cmty

for Creative Non-Violence, 468 U.S. 288, 293 (1984) is revealing of the Constitutional problem.

The opinion cites to Brown as evidence that the term “demonstrating” for purposes of a criminal

statute includes the right to “protest by silent and reproachful presence” citing Brown at 142.

Opinion at footnote 16. However, Brown, and the Constitution demand the opposite result.

Brown is highlighting that protest by silent reproachful presence is constitutionally protected

under the First Amendment. On that basis, the Court overturned the conviction.




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       Indeed, the Court in Brown stated:

            Petitioners' conduct was considerably less disruptive than in any of the
            preceding three situations in which this Court invalidated convictions
            under the same Louisiana statute or its predecessor, Garner v. Louisiana,
            368 U.S. 157; Taylor v. Louisiana, 370 U.S. 154; and Cox v. Louisiana,
            379 U.S. 536. Pp. 133-135, 139-140. Brown at 132.

       The Rivera opinion shows the direct problem. The broad and ambiguous definition of

“demonstration” is synonymous with the term that is constitutionally protected and provides no

other qualifier other than the mens rea requirements. Similarly, The Rivera opinion claims at

footnote 16 that mere presence within a demonstration, is itself demonstrating (citing to Clark at

293). Clark was suggesting the breadth of Constitutional protection:

            We need not differ with the view of the Court of Appeals that overnight
            sleeping in connection with the demonstration is expressive conduct
            protected to some extent by the First Amendment. We assume for
            present purposes, but do not decide, that such is the case.

       The Rivera opinion equates the breadth of the criminal actus reus in 40 U.S.C.

§5104(e)(2)(G) to the breadth of the Constitutional protection. A peaceful demonstration,

meaning complaining in a smartphone to an audience not at the Capitol, somehow becomes a

criminal violation. There is nothing in the statute to save anyone from the text of 40 U.S.C.

§5104(e)(2)(G) and the text constitutes a violation of the First and Fifth Amendments. Congress

has an obligation to speak in the actual terms that identify disruptive conduct not First

Amendment terms which can include orderly and peaceful expression.


               7) The Government’s Argument That No One Can Protest
               In The Capitol Or Other Building Where A “Secret Service
               Protectee” Visits Is Plainly Unconstitutional.

       The Government’s argued in USA v. Lloyd Casimiro Cruz, Jr., Criminal Case No. 1:22-

cr-00064-RBW of this District, that “judges of this Court have recognized that the U.S. Capitol




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qualified as a “restricted building,” citing various pretrial proceedings stemming from other

January 6 cases. The government attempted to bypass the First Amendment by the mere

presence of the Vice President in the Capitol on Jan. 6 somehow allows for prosecutions of

advocates, protestors or petitioners. (“[T]he U.S. Capitol building qualified as a “restricted

building on January 6 under Section 1752(c)(1)(B) due to the Vice President’s attendance and

participation in the joint congressional session.” Opposition, page 4.

       In Blair v. City of Evansville, 361 F. Supp. 2d 846 (S.D.In. 2005), a district court upheld

a lawsuit by a protestor (Blair) who was wrongly arrested for picketing a speech by Vice

President Dick Cheney in 2002. Blair held that “the restriction of protesters to an area 500 feet

away from the only entrance used by attendees, and on the opposite end of the building from

where Vice President Cheney would enter the facility and from where the majority of people

attending the event would park, burdened speech substantially more than was necessary to

further the [government’s] goals of safety.”

       The 1st amendment requires that the vice president and Congress cannot be entirely

insulated from picketing and advocacy. See, e.g., Kuba v. 1-A Agr. Ass'n, 387 F.3d 850, 861-62

(9th Cir. 2004) (200 and 265 feet security zones found over broad); Bay Area Peace Navy v.

United States, 914 F.2d 1224, 1229 (9th Cir. 1990) (seventy-five yard security zone found over

broad because it prevented demonstration from reaching intended audience); but see Madsen,

512 U.S. at 771 (holding that a thirty-six-foot buffer zone on public property was narrow

enough). Blair, 361 F. Supp. 2d at 858. Judge McKinney found that the location of the protest

zone in Blair “eliminated any meaningful avenue for the communication of ideas by the

protestors to at least one intended audience, the attendees.”




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V. CONCLUSION

       The Defendant requests this Court to grant this Motion and such other relief as may be

deemed just. Defendant Daniel Paul Gray, demands to discover the potentially exculpatory

information identified above.


Dated: October 21, 2022                   Respectfully Submitted,

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